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UNITED STATES DISTRICT COURT                     SOUTHERN DISTRICT OF TEXAS

                                HOUSTON DIVISION

Ronald Jeffrey Prible
  Petitioner,

v.                                                     Case No. 4:09−cv−01896

Lorie Davis
  Respondent.



                             NOTICE OF SETTING
                             PLEASE TAKE NOTICE

                              HEARING: Motion Hearing
                              RE: Emergency Motion − #273
                                Motion for Bond − #273
                                  DATE:    8/17/2020
                                   TIME:   03:30 PM
                               HAS BEEN SET BEFORE
                              JUDGE KEITH P. ELLISON
                          UNITED STATES COURTHOUSE
                           515 RUSK COURTROOM 3−A
                             HOUSTON, TEXAS 77002.


         ALL PARTIES MAY APPEAR BY TELEPHONE BY CALLING IN
            ON THE COURT'S DIAL−IN NUMBER AT 713−250−5238.
       ENTER CONFERENCE ID: 45238, FOLLOWED BY PASSWORD: 13579.




David J. Bradley, Clerk                                           Date: August 10, 2020
By Deputy Clerk, A. Rivera
